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Case 1:20-cv-00126-PLM-SJB ECFNo.1, PagelD.1 Filed 02/12/20

UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF MICHIGAN

HUNTER KACZYNSKI, a Minor, by his
Next Friend and Mother, STACEY KACZYNSKI

Plaintiff, Case No.
Hon.

VS.

ALVIN DEWEY and
MUSKEGON RIVER YOUTH HOME, INC.,

Jointly and severally

Defendants.

GEOFFREY N. FIEGER (P30441)

KEVIN C. RIDDLE (P57435)

Fieger, Fieger, Kenney & Harrington, P.C.

Attorneys for Plaintiff

19390 W. Ten Mile Road

Southfield, Michigan 48075

(248) 355-5555; (248) 355-5148 (fax)

k.riddle@fiegerlaw.com

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PLAINTIFF’S COMPLAINT AND JURY DEMAND

There is no other pending or resolved
civil action arising out of the transaction
or occurrence as alleged in_ the
complain

Kevif C. Réddle, Esq.

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Case 1:20-cv-00126-PLM-SJB ECFNo.1, PagelD.2 Filed 02/12/20 Page2o0

NOW COMES Plaintiff, HUNTER KACZYNSK, a Minor, by and
through STACEY KACZYNSKI, his Mother and Next Friend for, and through
her attorneys, FIEGER, FIEGER, KENNEY & HARRINGTON, P.C., and for

her Complaint against the above-named Defendants, states as follows:

JURISDICTION

1. This is a civil action brought pursuant to the Civil Rights Act, 42
U.S.C. § 1981, et seq., seeking monetary and punitive damages against
Defendants under 42 U.S.C §1983, and costs and attorney fees under 42 U.S.C.
§ 1988, and pre-judgment and post-judgment interest, all arising from violations
of Plaintiff's Fourth and Eighth Amendment rights of the United States
Constitution incorporated to the states via the Fourteenth Amendment.

2. This Court has jurisdiction pursuant to 28 U.S.C. §§ 1331, 1343
(a)(3), 1343(a)(4) and 42 U.S.C § 1983.

3. That Plaintiff brings this suit against each and every Defendant in
both their individual and official capacities.

4, That each and every act of Defendants, as set forth herein, were
done by those Defendants under the color and pretense of the statutes,

ordinances, regulations, laws and customs, and by virtue of, and under the

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authority of the color of law, and such actions were performed in the course
and scope of employment of each individual Defendant.

5. The amount in controversy exceeds Seventy-Five Thousand
($75,000.00) Dollars, excluding interests, costs and attorney fees.

VENUE

6. Venue lies in the Eastern District of Michigan pursuant to 28
U.S.C § 1391(d), the events took place in the City of Center Line, County of
Macomb, State of Michigan, which is located within the jurisdiction of the
United States District Court for the Eastern District of Michigan, Southern

Division.

PARTIES

7. At all times relevant to this litigation, Plaintiff, HUNTER
-KACZYNSKI, is a minor and was a resident of Defendant, MUSKEGON
RIVER YOUTH HOME, INC., located in Evart, Osceola County, Michigan.

8. Plaintiff, STACEY KACZYNSKI, is the mother of the minor

HUNTER KACZYNSKI and Next Friend.
9. At all times relevant to this litigation, Defendant MUSKEGON

RIVER YOUTH HOME, INC. was a corporation conducting business in

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Osceola County by acting as a private child caring institution in Evart,
Michigan, and was responsible for the operation and supervision of staff there
as well as responsible for the care and custody of individuals staying there,
including Plaintiff's Minor, HUNTER KACZYNSKI.

10. Defendant ALVIN DEWEY was an employee of MUSKEGON
RIVER YOUTH HOME, INC. and acting within the course and scope of his
employment when he used excessive force on HUNTER KACZYNSKI.

11. MUSKEGON RIVER YOUTH HOME, INC was acting as a
detention facility and therefore acting under color of law.

12. HUNTER KACZYNSKI was a juvenile detainee at the
MUSKEGON RIVER YOUTH HOME, INC at all relevant times.

13. At all times relevant hereto, the staff members who were
responsible for providing care, assistance, and supervision to Plaintiff's Minor,
HUNTER KACZYNSKI, were employees, agents, and/or ostensible agents of
Defendant MUSKEGON RIVER YOUTH HOME, INC., and accordingly
MUSKEGON RIVER YOUTH HOME, INC. is vicariously liable for their
conduct pursuant to the doctrines of vicarious liability or respondeat superior.

14. Defendant herein, identified as corporations, supervisors and

directors, including but not limited to, Defendant MUSKEGON RIVER

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YOUTH HOME, INC., is directly liable for their own negligent and grossly
negligent actions and are vicariously liable for the actions of their agents, staff
members, contractors, employees and representatives including, but not limited
to the Defendants listed herein.

15. The events giving rise to this action occurred on or about March
7, 2019, in the City of Evart, County of Osceola, State of Michigan.

16. The amount in controversy is in excess of Seventy-Five Thousand
Dollars ($75,000.00).

17. Venue and jurisdiction are properly vested in this Court.

COMMON ALLEGATIONS

18. Plaintiff hereby reincorporates each and every allegation
contained in the preceding paragraphs of this Complaint as if fully set forth
herein.

19. On March 7, 2019, Plaintiff's Minor, HUNTER KACZYNSKI,
was a resident of MUSKEGON RIVER YOUTH HOME, INC.

20. Defendant, MUSKEGON RIVER YOUTH HOME, INC., is a
private child caring institution for at-risk male and female children, ages 10-
17.

21. Defendant MUSKEGON RIVER YOUTH HOME, INC.,

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represents that it provides a secure environment whose residents include
children with behavioral issues. Defendant provides specialized programs for
substance abuse, sexual offending, mental health, and trauma recovery.

22. Alvin Dewey was at all relevant times an employee and/or agent
of MUSKEGON RIVER YOUTH HOME, INC.

23. At all times relevant hereto, Defendant, MUSKEGON RIVER
YOUTH HOME, INC., maintained control over the subject facility where
Plaintiff received significant and permanent injuries.

24.  Atall times relevant hereto, an investigation was conducted by the
Department of Health and Human Services, Child Welfare and Licensing
Division, regarding the incident alleged in this Complaint, referred to as
Investigation Report #2019C01 14022, dated April 9, 2019.

25.  Atall times relevant hereto, Alvin Dewey, is referred to as Staff 1
in Investigation Report # 2019C0114022.

26. At all times relevant hereto, Plaintiff's Minor, HUNTER
KACZYNSKI, is referred to as Resident B in Investigation Report #

2019C0114022.

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27. At the aforesaid date, time and place, and without proper legal
justification, Alvin Dewey committed the acts as described in Investigation

Report # 2019C0114022 with a conclusion that Dewey violated R 400.4159ed:

Staff 1 grabbed Resident B’s arm and yanked him out of a chair
which resulted in a restraint. They fell to the floor. Other staff
were present and could have assisted with a restraint if one was
warranted. The restraint was not performed in a manner that
was safe, appropriate, and proportionate to the severity of the
minor child’s behavior. Staff 1 is observed during the video
recording to be pushing his elbow into the chest and back of
Resident B with force, attempting to hurt Resident B. The
restraint was also improper as Staff 1 challenged and escalated
Resident B’s behavior. Resident B, though not following staff
directives, was not harming self or others or engaging in
property destruction. Therefore, the restraint was not justified.

CONCLUSION: | VIOLATION ESTABLISHED

28. At all times relevant hereto, Alvin Dewey, further demeaned,
belittled and humiliated Plaintiff's Minor by swearing at him and speaking at
him in a demeaning manner in violation of R 400.158.

29. At all times relevant hereto, the investigation conducted by the
Department of Health and Human Services concluded that Defendant’s staff
violated R. 400. 4159.

30. Plaintiff's Minor, HUNTER KACZYNSKI, suffered injuries to
his head and neck including bruises to his eyelids cheeks, neck, and chest, pain

and suffering, and emotional distress as a result of the assault.

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31. At all times relevant, Defendant’s compliance supervisor,
employee and/or agent committed these unlawful acts while in the course and
scope of his employment.

32. At all times relevant hereto, Defendant failed to have and/or
enforce policies, procedures and/or rules regarding the use of excessive force
and brutality by their employees and agents, regarding carrying out duties
related to managing the facility.

33. At all times relevant hereto, Defendant, MUSKEGON RIVER
YOUTH HOME, INC., maintained, controlled and had immediate access to
Alvin Dewey’s employee file containing the disciplinary actions indicated

below in Investigation Report # 2019C0114022:

Staff 1: The file indicates that five disciplinary actions have occurred and are as
follows.

¢ 07/28/16, Being unprofessional. The document does not specially describe or
articulate unprofessionalism.

¢ 10/26/16 Unnecessary hands on. Improper restraint.
¢ 02/07/17 Not following policy, hands on.
e 10/20/17 Unnecessary hands on, power struggle.

e 03/16/18 Attendance

34. Plaintiff's Minor, HUNTER KACZYNSKI, did not engage in any

negligent conduct in this matter and is not comparatively negligent.

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COUNT I - 42 U.S.C § 1983-EXCESSIVE FORCE
AGAINST ALL DEFENDANTS

35. Plaintiff hereby reincorporates each and every allegation
contained in the above paragraphs as if fully set forth herein.

36. Pursuant to the Fourth, Eighth and Fourteenth Amendments of the
United States Constitution, at all times relevant, Plaintiff had the right to be
free from cruel, unusual and excessive force while under the custody and
control of Defendants.

37. The acts and/or omissions of Defendant ALVIN DEWEY, as
outlined above, amounted to a seizure and excessive force within the meaning
of the Fourth, Eighth and Fourteenth Amendments, when the Defendants
terminated Plaintiff, HUNTER KACZYNSKI’s freedom of movement through
means intentionally applied.

38. At all times relevant hereto, Plaintiff, HUNTER KACZYNSKI,
was unarmed, and did not pose a threat of safety to Defendants or others.

39. Under all the circumstances known to Defendants, the physical
force used against Plaintiff, HUNTER KACZYNSKI, was objectively

unreasonable and clearly excessive.

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40. Defendant violated Plaintiff's clearly established right to be free
from unreasonable and excessive use of force as guaranteed by the Fourth,
Eighth and Fourteenth Amendments of the United States Constitution.

41. The conduct of the Defendant was, and remains extreme and
outrageous, subjecting them to punitive damages.

42. The misconduct of Defendant directly and proximately caused
Plaintiff, HUNTER KACZYNSKI, to suffer numerous injuries including, but
not limited to:

a. Facial and head contusions, abrasions, bruising, and other injury;
b. Post traumatic stress disorder;

c. Exacerbation of prior injury and/or illness;

d. Pain and suffering;

e. Anxiety;

f. Mental anguish;

g. Emotional distress;

h. Fright and shock;

i. Humiliation and/or mortification;

j- Economic loss;

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k. Other damages, injuries, and consequences that are found to be
related to the incident that develops during the course of
discovery;

l. Exemplary, compensatory and punitive damages allowed under
Michigan and federal law;

n. Attorney fees and costs, pursuant to 42 US.C. 1988; and,
o. Any other damages allowed by law.

WHEREFORE, Plaintiff respectfully requests this Honorable Court
enter judgment in her favor against all Defendants, jointly and severally, and in
an amount greatly in excess of Seventy-Five Thousand ($75,000.00) Dollars,
exclusive of costs, interest and attorney fees.

COUNT I
42 U.S.C. § 1983 —- MONELL LIABILITY- MUSKEGON RIVER

YOUTH HOME, INC. AND DEFENDANTS IN THEIR OFFICIAL
CAPACITIES

43. Plaintiff hereby restates and re-alleges each and every allegation
contained in the above paragraphs as if fully set forth herein.

44, Atall times relevant hereto, Defendants failed to train, discipline
and supervise officers responsible for detainee’s custody and care, and/or
encouraged the officers to violate federal and state laws without regard to the
constitutional rights of citizens to be free from violations of the Fourth, Eighth

and Fourteenth Amendments to the United States Constitution.

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45. At all times relevant hereto, Defendants refused to provide the
officers any training, discipline and supervision with regard to the
constitutional rights of citizens to be free from violations of the Fourth, Eighth
and Fourteenth Amendments to the United States Constitution; refused to
provide the officers with supervision and discipline to protect the constitutional
rights of citizens; refused to require the officers to follow policies and
procedures and state and federal law relating to the right of an detainee to be
provided with medical care for serious medical needs.

26. At all times relevant hereto, Defendants knew, or should have
known, that the policies, procedures, training supervision and discipline of the
officers were inadequate for the tasks that each Defendant was required to
perform.

27. Atall times relevant hereto, there was a complete failure to train,
supervise and discipline the officers. The training, supervision and lack of
discipline were so reckless, that future violations of the constitutional rights of
citizens to be free from violations of the Fourth, Eighth and Fourteenth
Amendments to the United States Constitution, as described in the preceding

paragraphs, were certain to occur.

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28. At all times relevant hereto, Defendants were on notice and knew
that the failure of training, discipline and/or supervision of the officers with
regard to the constitutional rights of citizens to be free from violations of the
Fourth, Eighth and Fourteenth Amendments to the United States Constitution,
as described in the preceding paragraphs, were inadequate and would lead to
the violation of detainee’s constitutional rights.

29. At all times relevant hereto, Defendants response to this
knowledge was so inadequate as to show a complete disregard for whether the
officers would violate the constitutional rights of citizens to be free from
violations of the Fourth, Eighth and Fourteenth Amendments to the United
States Constitution.

30. Defendants implicitly authorized, approved, or knowingly
acquiesced in the excessive force and cruel and unusual punishment of citizens,
and knew, or should have known, that such treatment would deprive detainees
of their constitutional rights.

31. Atall times relevant hereto, there was a clear and persistent pattern
of violations of citizens’ constitutional rights to be free from violations of the
Fourth, Eighth and Fourteenth Amendments to the United States Constitution,

as described in the preceding paragraphs.

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32. At all times relevant hereto, Defendants knew, or should have
known, that there was a clear and persistent pattern of violations of citizens’
constitutional rights to be free from violations of the Fourth, Eighth and
Fourteenth Amendments to the United States Constitution, as described in the
preceding paragraphs.

33. Defendants tolerated the police officers’ repeated violations of the
Fourth, Eighth and Fourteenth Amendments to the United States Constitution,
which allowed the officers to continue to engage in this unlawful behavior.

34. Defendants refused to discipline officers who violated citizens’
constitutional rights to be free from violations of the Fourth, Eighth and
Fourteenth Amendments to the United States Constitution; failed to fully
investigate allegations of misconduct, looked the other way, and thus, tacitly
encouraged such behavior. In doing so, Defendants condoned, ratified or
encouraged the officers’ staff to violate the Fourth, Eighth and Fourteenth
Amendments to the United States Constitution as a matter of policy.

35. That the conduct of the aforementioned Defendants, individually,
corporately and as agents of said individual Defendants, deprived Plaintiff of

her clearly-established rights, privileges, and immunities guaranteed her under

the United States Constitution, specifically those set forth under the Fourth,

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Eighth and Fourteenth Amendments to same, as evidenced by the following
particulars:

a. Permitting Plaintiff and other detainees to be subject to
excessive force and cruel and unusual punishment, in
violation of the Fourth, Eighth and Fourteenth
Amendments;

b. Failing to properly train and supervise the individuals
within the aforementioned facility having custodial and/or
care giving responsibilities over Plaintiff to ensure the
above breaches / deviations were not committed;

c. Tolerating the conduct of individuals within the
aforementioned facility having custodial and/or care when
it was apparent that there was a pattern of treatment of
Plaintiff and other persons in a manner consistent with
excessive force and in violation of her Fourth, Eighth and
Fourteenth Amendment protection against excessive force
and cruel and unusual punishment;

d. Failing to discipline the individuals within the
aforementioned facility having custodial and/or care when
it was apparent that they were using excessive force and
cruel and unusual punishment.

36. The misconduct of Defendants, directly and proximately caused
Plaintiff, HUNTER KACZYNSKI, to suffer numerous injuries including, but
not limited to:

a. Facial and head contusions, abrasions, bruising, and other
injury;

b. Post traumatic stress disorder;

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Exacerbation of prior injury and/or illness;

Pain and suffering;

Anxiety;

Mental anguish;

Emotional distress;

Fright and shock;

Humiliation and/or mortification;

Economic loss;

Other damages, injuries, and consequences that are found to be

related to the incident that develops during the course of
discovery;

. Exemplary, compensatory and punitive damages allowed

under Michigan and federal law;
Attorney fees and costs, pursuant to 42 U.S.C.1988; and,

Any other damages allowed by law.

WHEREFORE, Plaintiff respectfully requests this Honorable Court to
enter judgment in her favor and against Defendants, jointly and severally, and
award an amount in excess of Seventy-Five Thousand ($75,000.00) Dollars,

exclusive of costs, interest and attorney fees, as well as punitive and exemplary

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COUNT III
DIRECT NEGLIGENCE: MUSKEGON RIVER YOUTH HOME, INC.

37. Plaintiff restates and re-alleges the allegations contained in the
above paragraphs, as though fully set forth herein.

38. At all times relevant, Defendant, MUSKEGON RIVER YOUTH
HOME, INC., had a duty to act with ordinary care for the safety of Plaintiff's
Minor, HUNTER KACZYNSKI.

39. At all times relevant, Defendant, MUSKEGON RIVER YOUTH
HOME, INC., had a duty to maintain its facility and/or place of business in a
reasonably safe condition and to properly train and supervise it’s employees,
conduct background checks, and have and enforce strict policies and/or
guidelines and/or rules regarding use of excessive force.

40. Defendant breached its duties to Plaintiff by acting with
negligence and/or gross negligence in the following ways:

a. Failing to train its employees, agents and/or
compliance supervisors;

b. Failure to properly provide instruction to
Defendant’s employees, agents and/or
compliance supervisors on the appropriate use
of force under reasonable circumstances;

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c. Failing to implement necessary and
appropriate policies and procedures
identifying how and when to use force, and
what kind of force is to be used given a
particular situation;

d. Failing to properly supervise and train
Defendant’s employees, agents and/or
compliance supervisors;

e. Failing to properly manage all employees,
agents and/or compliance supervisors;

f. Failing to properly hire individuals who are
qualified and well suited to perform the job as
employees, agents and/or compliance
supervisors;

g. Allowing the Defendants employees, agents
and/or compliance supervisors to use
excessive force;

h. Failing to hire, manage, supervise and train
employees and/or agents who were competent
to deal with the residents in a reasonable
manner;

1. Allowing Alvin Dewey to remain on staff in
contact with children given his prior history of
improper conduct.

j. Defendant is not afforded immunity under
MCL 691.1635 because the conduct which
caused Plaintiff's Minor’s injuries amount to
gross negligence and/or willful misconduct
and/or was prohibited by law and a violation of
the prohibition is punishable by imprisonment
and;

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k. Other acts and/or admissions as they become
known through the course of continued
discovery.

41. As a proximate result of Defendant’s gross negligence and/or
recklessness and/or gross carelessness, Plaintiff's Minor, HUNTER
KACZYNSKI has suffered the following injuries, past, present and future:

a. Injuries to the head and neck;
b. _—_ Bruising;
C. Fright and shock;

d. Pain and suffering;

e. Medical bills and other economic damages;
f. Mental anguish and emotional distress;
g. Punitive and exemplary damages; and

h. Any and all other damages that become
known through the course of discovery or
otherwise allowable under Michigan law.
WHEREFORE, Plaintiff's Minor, HUNTER KACZYNSKI,
respectfully request that this Court enter judgment in favor of Plaintiff against
Defendant, in an amount that is fair and reasonable under the circumstances,

in excess of $75,000.00 plus costs, fees and interest.

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COUNT IV
NEGLIGENCE, GROSS NEGLIGENCE AND/OR RECKLESSNESS:
MUSKEGON RIVER YOUTH HOME, INC. STAFF

42. Plaintiff restates and re-alleges the allegations contained in the
above paragraphs, as though fully set forth herein.

43. At all times relevant, Defendant’s staff had a duty to act with
ordinary care for the safety of Plaintiff's Minor, HUNTER KACZYNSKI.

44. It was then and there the duty of Defendant and its agents,
employees, and/or ostensible agents, including but not limited to the unlicensed
caregivers, including but not limited to Alvin Dewey, to use due care and
caution for Plaintiff's Minor, Hunter Kaczynski’s safety and protection,
including but not limited to protecting Hunter Kaczynski; refraining from
improperly restraining and harassing Hunter; and contacting Hunter
Kaczynski's guardian if Defendant was unable to meet his needs.

45. That Defendant and its agents, employees, and/or ostensible

agents, including but not limited to its unlicensed caregivers, breached these

duties when they performed the following negligent acts:

a. Negligently and recklessly failing to contact
Hunter Kaczynski’s legal guardian or other family
members id you could not provide the care and
supervision he required;

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. Negligently and recklessly restraining Hunter

Kaczynski in violation of Administrative Rule
400.4159;

. Negligently and recklessly failing to properly

attend to Hunter Kaczynski 's need for safety as
required by the Michigan Administrative Rules;

. Negligently and recklessly failing to provide

Hunter Kaczynski with the supervision and
assistance that he required so that he was not
assaulted and exploited by staff;

. Negligently and recklessly failing to abide by the

administrative regulations governing the safe
ownership and operation of a licensed facility, as
detailed in the Michigan Administrative Rules;

. Negligently and recklessly failing to exercise

ordinary and reasonable care to ensure that Hunter
Kaczynski received proper care and supervision;

. Negligently and recklessly failing to take steps to

protect Hunter Kaczynski, a vulnerable child,
when he was unable to protect or defend himself;

. Any and all other acts of negligence that become

known throughout the course of discovery and/or
litigation.

Violation of R 400.4159. Defendant’s
policy/procedure pertaining to resident restraint
states that it shall be performed in a manner that is

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safe, appropriate, and proportionate to the severity
of the minor child’s behavior, chronological and

developmental age, size, gender, physical
condition, medical condition, psychiatric
condition, and personal history, including any
history of trauma, and done in a manner consistent
with the resident’s treatment plan. Defendant
Alvin Dewey violated this policy/procedure as
slamming Plaintiff's Minor to the ground and
pushing his face into a bed frame was neither safe
nor proportional to his actions;

Violation of R 400.4159. Defendant’s
policy/procedure pertaining to resident restraint
further states the licensee is permitted to restrain a
child only a) to prevent injury to the child, self-
injury, or injury to others; b) as a precaution
against escape or truancy; and c) when there is
serious destruction of property that places a child
or others at serious threat of violence or injury if
no intervention occurs. Plaintiff's Minor was not
harming himself, others, or engaging in property
destruction at the time Defendant Alvin Dewey
restrained him, in clear violation of Defendant’s
policy/procedure pertaining to resident restraint;

. Violation of R 400.158.

Defendant’s policy/procedure pertaining to
discipline states an institution shall prohibit all
cruel and severe discipline including any of the
following: verbal abuse, ridicule, or humiliation.
Defendant Alvin Dewey’s use of vulgar language
and demeaning threats that lead to the escalation of

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m. Other acts and/or admissions as they become

As a proximate result of Defendant’s gross negligence and/or
recklessness and/or gross carelessness, Plaintiffs Minor HUNTER
KACZYNSKT has suffered the following injuries, past, present and future:

a.

b.

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events in this instance constitutes a violation of this
policy/procedure;

Defendants are not afforded immunity under MCL
691.1635 because the conduct which caused
Plaintiffs Minor’s injuries amount to gross
negligence and/or willful misconduct. MCL
691.1635 (3). and;

known through the course of continued discovery.

Soft tissue injuries

Bruising;

Fright and shock;

Pain and suffering;

Medical bills and other economic damages;
Mental anguish and emotional distress;

Punitive and exemplary damages; and

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h. Any and all other damages that become
known through the course of discovery or
| otherwise allowable under Michigan law.

WHEREFORE, Plaintiff's Minor, HUNTER KACZYNSKI,

‘respectfully request that this Court enter judgment in favor of Plaintiff against

‘Defendant, in an amount that is fair and reasonable under the circumstances, in

“excess of $75,000.00 plus costs, fees and interest.

Respectfully submitted,

PIEGE.
HARRING

KENNEY &

GEOFFREY N/FIEGER (P30441)
KEVIN C. RIDDLE (P57435)

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Attorneys for Plaintiff

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UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF MICHIGAN

HUNTER KACZYNSKI, a Minor, by his
Next Friend and Mother, STACEY KACZYNSKI

Plaintiff, Case No.
Hon.

VS.

ALVIN DEWEY and
MUSKEGON RIVER YOUTH HOME, INC.,
Jointly and severally

Defendants.

GEOFFREY N. FIEGER (P30441)
KEVIN C. RIDDLE (P57435)

Fieger, Fieger, Kenney & Harrington, P.C.
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JURY DEMAND

for trial by jury in the above-captioned matter.

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NOW COMES Plaintiff, HUNTER KACZYNSKI, a Minor, by his Next
Friend and Mother, STACEY KACZYNSKI, by and through her attorneys,

FIEGER, FIEGER, KENNEY & HARRINGTON, P.C., and hereby demands

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Dated: February 3, 2020

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/s/ Kevin C. Riddle

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